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   6

   7

   8                     UNITED STATES DISTRICT COURT
   9
                       SOUTHERN DISTRICT OF CALIFORNIA
  10

  11
       BOFI FEDERAL BANK, a federal            Case No.: 3:15-cv-2353-BAS-NLS
  12   savings bank,
  13                                           DEFENDANT ERHART’S
                               Plaintiff,      OPPOSITION TO MOTION FOR
  14         vs.                               PRELIMINARY INJUNCTION;
                                               MEMORANDUM OF POINTS AND
  15   CHARLES MATTHEW ERHART, an              AUTHORITIES
       individual; and DOES 1-25, inclusive.
  16

  17
                               Defendant.      The Hon. Cynthia Bashant
  18
                                               Courtroom 4B (Schwartz
  19
                                               Courthouse)
  20

  21                                           Date: February 1, 2016
  22                                           Dept: Courtroom 4B
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   1              I.     INTRODUCTION AND SUMMARY OF ARGUMENT
   2          Plaintiff Charles Matthew Erhart is a whistleblower under the Sarbanes-
   3   Oxley Act (18 U.S.C. § 1514A) ("SOX") and the Dodd-Frank Act (15 U.S.C. §
   4   78u-6) ("Dodd-Frank"), as well as under California Labor Code § 1102.5. See

   5
       Case No. 15CV2287-BAS-NLS (“Erhart Whistleblower Suit”).1 Mr. Erhart lost
       his job working for Plaintiff because of his important whistleblowing activities.
   6
              Plaintiff Bofi Federal Bank (“Bofi” or “the Bank”) filed this suit against
   7
       Mr. Erhart after he filed his whistleblower suit against Bofi. It seeks to prevent
   8
       him from using information he lawfully obtained in support of exposing company
   9
       misconduct and unlawful activity, and to punish him for having done so.
  10
              Abundant case law supports Mr. Erhart’s efforts to blow the whistle, using
  11
       a reasonable number of documents to share with federal authorities, after
  12
       confirming with them that he was a protected whistleblower. (Declaration of
  13
       Charles Matthew Erhart (“Erhart Decl.”) ¶¶ 79-80).2
  14          In addition, Bofi knew for many months that Mr. Erhart had the documents
  15   in question, and had shared them with authorities. Yet it waited 7 1/2 months to
  16   take any action. This is hardly a case for injunctive relief.
  17

  18                      II.    RELEVANT FACTUAL BACKGROUND
  19          Mr. Erhart joined Bofi as a staff internal auditor in September 2013 after a
  20   stint as essentially a federal regulator at FINRA. He reported to Jonathan Ball,
  21   Vice President, Internal Audit. Mr. Ball had considerable experience as an
  22   internal auditor for banks, and Mr. Erhart learned a great deal from him. (Erhart

  23   Decl., ¶ 5).
              In fact, Mr. Ball had been the lead auditor for 18 years at a failed bank, La
  24

  25
       1
  26     Charles Matthew Erhart v. Bofi Holding, Inc., S.D. Cal. Case No. 15CV2287-BAS-NLS.
       (Request for Judicial Notice (“RJN”). See Appendix of Exhibits, Exhibit 1). The instant case
  27   was low-numbered to this Court October 29, 2015 due to Mr. Erhart’s first-filed whistleblower
       suit.
  28   2
         See Appendix of Exhibits, Exhibit 5.
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   1   Jolla Bank, just before joining Bofi. After La Jolla Bank was taken over by the
   2   Office of Thrift Supervision (“OTS”), the Federal Deposit Insurance Corporation
   3   (“FDIC”), as receiver, sued senior officers of that bank.3
   4            The United States Department of the Treasury, Office of Inspector General

   5
       (“OIG”) investigated the cause of La Jolla Bank’s failure, and issued its Audit
       Report on July 14, 2011 (“OIG Report”). The OIG Report pointed to its
   6
       aggressive growth, concentration in high-risk loans, deteriorating asset quality,
   7
       and lack of attention to internal controls. The OIG also noted that potential fraud
   8
       and other misconduct by the chief executive officer and chief credit officer,
   9
       brought to the attention of the board’s audit committee by its internal auditor [Mr.
  10
       Ball], likely contributed to the bank’s adopting an unsound operating strategy.
  11
       OIG Report at 1-2.4
  12
                Mr. Ball began to warn Mr. Erhart of some troubling practices at Bofi that
  13
       harkened back to a similar strategy at La Jolla Bank – questionable conduct by
  14   the CEO, pursuit of an aggressive growth strategy, heavy concentrations in
  15   certain areas and types of loans. As he said to Mr. Erhart, “I’ve seen this movie
  16   before, and it ends badly.” (Erhart Decl., ¶ 6).
  17            In the course of performing his work as an auditor, Mr. Erhart repeatedly
  18   came upon troubling issues. He conferred regularly with Mr. Ball and took
  19   direction from him about what to investigate and how to report it. (Erhart Decl., ¶
  20   9). The issues he uncovered are set forth in some detail in his complaint in the
  21   Erhart Whistleblower Lawsuit. See especially Paragraphs 9-75 of the complaint,
  22   incorporated here by this reference, and set out in Mr. Erhart’s declaration as

  23   well. (Erhart Decl., ¶¶ 9-75). Mr. Erhart was selective in the documents he
       accessed and turned over, focusing only on those documents supporting the
  24

  25
       3
        Federal Deposit Insurance Corporation, as Receiver for La Jolla Bank, FSB v. Richard K.
  26   Colbourne et al., S.D. Cal. Case No. ’13-cv-0351-GPC-WMC (RJN, Appendix of Exhibits,
       Exhibit 2.)
  27
       4
  28       (RJN, Appendix of Exhibits, Exhibit 3).
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   1   specific instances of wrongdoing he had identified together with Mr. Ball. (Erhart
   2   Decl., ¶ 79).
   3              Once Bofi knew that Mr. Erhart was engaging in whistleblowing to its
   4   principal regulator, the Office of the Comptroller of the Currency, U.S.

   5
       Department of the Treasury (“OCC”), Bofi demanded the return of Mr. Erhart’s
       laptop computer and threatened to call the police. Mr. Erhart promptly returned it
   6
       to the Bank as requested, although he was aware the Bank normally did not ask
   7
       employees on medical leave to return their laptops (Erhart Decl., ¶ 67).
   8
                  Once Mr. Erhart retained legal counsel, he downloaded the same files he
   9
       had provided the OCC on March 6-9, 2015 to thumb drives for the purpose of
  10
       sending them to other federal law enforcement agencies, including the Securities
  11
       and Exchange Commission (“SEC”) and the Department of Labor, Office of
  12
       Safety and Health Administration (“OSHA”). (Erhart Decl., ¶ 78).
  13
                  At no time did Mr. Erhart provide confidential information to anyone other
  14   than his attorney and federal law enforcement agencies. (Erhart Decl., ¶ 77).
  15              Many months elapsed after the Bank was aware that Mr. Erhart had blown
  16   the whistle on it. Lawyers for the parties corresponded, and in particular Mr.
  17   Erhart’s counsel gave assurances to Bofi’s counsel in May 2015 that no customer
  18   information had been shared with anyone outside the Bank’s regulators
  19   (Declaration of Carol L. Gillam (“Gillam Decl.”), ¶ 2).5
  20              The Bank took no further steps to seek return of information that Mr.
  21   Erhart had possessed until after the Erhart Whistleblower Lawsuit was filed
  22   October 13, 2015. (Gillam Decl., ¶ 3). Once the Bank filed its own lawsuit, Mr.

  23   Erhart fully cooperated in returning information to the Bank, while denying any
       wrongdoing in having possessed it. A joint proposed temporary restraining order
  24
       was filed October 21, 2015. A version of the order was granted November 2,
  25
       2015. A joint supplemental TRO was filed November 10, 2015, and a joint
  26
       motion to allow a limited deposition of Mr. Erhart filed November 11, 2015
  27

  28   5
           Appendix of Exhibits, Exhibit 6.
                                                    3                Case NO. 15CV2353-BAS-NLS
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   1   (granted November 18, 2015). A joint protective order was filed December 1,
   2   2015 and signed December 3, 2015.6 The parties also cooperated in allowing the
   3   Bank to have forensic auditors inspect Mr. Erhart’s computer. Mr. Erhart
   4   provided a declaration to Bank counsel describing the contents of information on

   5
       his computer. (Erhart Decl., ¶ 81). Mr. Erhart’s deposition took place Sunday,
       December 6, 2015. (Erhart Decl., ¶ 82).
   6
              As Mr. Erhart has testified, he did not share any Bank confidential
   7
       information with anyone besides his counsel and federal law enforcement
   8
       authorities.7 As these facts demonstrate, there is no basis for the Bank to seek or
   9
       obtain a preliminary injunction. The parties have worked cooperatively, and will
  10
       continue to do so unless the Bank refuses to produce the information to Mr.
  11
       Erhart in discovery that he turned over to it. (Gillam Decl., ¶ 4).
  12

  13
                                      III.   LEGAL STANDARD
  14          Defendant agrees that Bofi must prove four elements in order to
  15   succeed on its motion: “A plaintiff seeking a preliminary injunction must
  16   establish that he is likely to succeed on the merits, that he is likely to suffer
  17   irreparable harm in the absence of preliminary relief, that the balance of equities
  18   tips in his favor, and that an injunction is in the public interest.” Network
  19   Automation, Inc. v. Advanced Sys. Concepts, Inc., 638 F.3d 1137, 1144 (9th Cir.
  20   2011) (citing Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).
  21   (Pltf.Mem. 11-12). As will be seen below, Plaintiff fails to meet its burden on any
  22   of these.

  23   ////
       ////
  24

  25
       6
  26    Defendant requests the Court judicially notice the filings in this case.
       7
        He did send some information to his mother for safekeeping before he retained counsel, when
  27   he was fearful the Bank would destroy information and potentially cause him harm, but his
       mother never looked at it. (Erhart Decl., ¶ 77).
  28
                                                    4                   Case NO. 15CV2353-BAS-NLS
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   1                                     IV.     ARGUMENT
   2          A.     Bofi Cannot Show It Is Likely To Succeed on the Merits
   3          Plaintiff argues that it is likely to prevail on three common law claims:
   4   breach of contract, conversion and breach of a duty of loyalty. None of these

   5
       claims belongs in federal court, of course.8
              Defendant does not claim that he had carte blanche to disclose everything
   6
       he learned while working as a staff auditor at Bofi Bank to anyone he pleased.
   7
       And he certainly has not done so. The heart and soul of this case is that Mr. Erhart
   8
       blew the whistle on illegal conduct and Bofi’s stock price suffered from the
   9
       exposure of that conduct.
  10
              Plaintiff failed to state Ninth Circuit law correctly on this element,
  11
       neglecting to mention its burden to show it is likely to overcome any affirmative
  12
       defenses raised. See Atari Games Corp. v. Nintendo, 975 F.2d 832, 837 (Fed.Cir.
  13
       1992) (following Ninth Circuit law, and stating that plaintiff must show
  14   likelihood of success on prima facie copyright infringement case and likelihood
  15   that it would overcome copyright misuse defense); see also Dr. Seuss Enters. v.
  16   Penguin Books USA, 924 F.Supp. 1559, 1562 (S.D. Cal.1996), aff’d, 109 F.3d
  17   1394 (9th Cir.1997) (“The plaintiff’s burden of showing a likelihood of success
  18   on the merits includes the burden of showing a likelihood that it would prevail
  19   against any affirmative defenses raised by the defendant”); Religious Tech. Ctr. v.
  20   Netcom On–Line Communication Servs., 923 F.Supp. 1231, 1242 n. 12 (N.D. Cal.
  21   1995) (plaintiffs must prove they can defeat fair use defense to obtain preliminary
  22   injunction); 2 William W. Schwarzer et al., California Practice Guide, Federal

  23   Civil Procedure Before Trial ¶ 13:47 (2000) (advising that when a preliminary
       injunction is sought “plaintiff must demonstrate a likelihood of prevailing on any
  24
       affirmative defense as well as on plaintiff’s case in chief”). The foregoing law is
  25
       cited in the very footnote Plaintiff cites in its brief, yet Bofi fails to mention it.
  26
  27
       8
        Plaintiff sought federal jurisdiction based on a specious claim under the Computer Fraud and
  28   Abuse Act, 18 U.S.C. § 1030(a)(5).
                                                     5                   Case NO. 15CV2353-BAS-NLS
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    1   (Pltf.Mem. 12, citing A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1015
    2   n.3 (9th Cir. 2001). Defendant has raised a plethora of affirmative defenses in his
    3   answer, and Plaintiff has only addressed one of them. (Pltf.Mem. 14-16).
    4                1.    The Law Protects Mr. Erhart’s Conduct.

    5
              As a whistleblower, Mr. Erhart has protections from liability for breach of
        a confidentiality agreement, and from similar claims like those Bofi brings here.
    6
        Most federal courts acknowledge this public policy exception in analogous cases,
    7
        as under the False Claims Act. See Stephen M. Payne, Let's be Reasonable:
    8
        Controlling Self–Help Discovery in False Claims Act Suits, 81 U. Chi. L.Rev.
    9
        1297, 1298–99 (2014) (“The first and largest group of courts holds that public
   10
        policy voids confidentiality agreements in the context of the FCA.”); Joel D.
   11
        Hesch, The False Claims Act Creates a “Zone of Protection” that Bars Suits
   12
        Against Employees Who Report Fraud Against the Government, 62 Drake L.Rev.
   13
        361, 391 (2014) (the Act “mandates that the relator produce internal company
   14   information as part of filing a qui tam case.”); Shmushkovitch v. Home Bound
   15   Healthcare, Inc., 2015 WL 386947, at *1 (N.D. Ill. June 23, 2015) (“Most
   16   federal courts acknowledge this public policy exception”).
   17         There is a strong public policy in favor of protecting whistleblowers who
   18   report fraud against the government. See, e.g., Fanslow v. Chi. Mfg. Ctr., Inc.,
   19   384 F.3d 469, 479 (7th Cir.2004) (recognizing a “broad” public interest); U.S. ex
   20   rel. Ruhe v. Masimo Corp., 929 F.Supp.2d 1033, 1039 (C.D. Cal. 2012) (“Ruhe”)
   21   (“this taking and publication was not wrongful, even in light of nondisclosure
   22   agreements, given the strong public policy in favor of protecting whistleblowers

   23   who report fraud against the government”); United States v. Cancer Treatment
        Ctrs. of Am., 350 F.Supp.2d 765, 773 (N.D. Ill. 2004); United States ex rel.
   24
        Rector v. Bon Secours Richmond Health Corp., 2014 WL 66714, at *6 (E.D. Va.
   25
        Jan. 6, 2014) (“It is true that the FCA contemplates whistleblower possession of
   26
        documents obtained from employers that evidence fraud upon the government.”);
   27
        Siebert v. Gene Sec. Network, Inc., 2013 WL 5645309, at *8 (N.D. Cal. Oct. 16,
   28
                                                 6                 Case NO. 15CV2353-BAS-NLS
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    1   2013) (“any alleged obligation by Siebert not to retain or disclose the confidential
    2   documents that form the basis of this action is unenforceable as a matter of public
    3   policy because it would frustrate Congress' purpose in enacting the [FCA]”).
    4         This policy would be thwarted if the courts permitted companies like Bofi

    5
        to use the in terrorem effect of a lawsuit like the present one to silence
        whistleblowers and keep company misconduct secret. Likewise a bank could
    6
        attempt to coerce its employees to engage in illegal conduct themselves, on pain
    7
        of dismissal or potentially ruinous litigation.
    8
              Bofi cites three cases to argue that Mr. Erhart should not enjoy protection
    9
        as a whistleblower, U.S. ex rel. Cafasso v. General Dynamics C4 Systems, Inc.,
   10
        637 F.3d 1047, 1061-62 (9th Cir. 2011) (“Cafasso”); JDS Uniphase Corp. v.
   11
        Jennings, 473 F.Supp. 697, 702 (E.D. Va. 2007); and Renfroe & Co. v. Moran,
   12
        249 Fed.Appx. 88-89 (11th Cir. 2007) (Pltf.Mem. 14-16). Each is distinguishable.
   13
              The Ninth Circuit declined to adopt a broad immunity rule for
   14   whistleblowers turning over large quantities of evidence in Cafasso, supra. There
   15   the whistleblower engaged in the wholesale and indiscriminate taking of some 11
   16   gigabytes of data, an enormous quantity by any standard. The court found:
   17   “Swept up in this unselective taking of documents were attorney-client privileged
   18   communications, trade secrets belonging to GDC4S and other contractors,
   19   internal research and development information, sensitive government
   20   information, and at least one patent application that the Patent Office had placed
   21   under a secrecy order.” Id. at 1062.
   22         That is hardly the case here, where the files Defendant had on his bank-

   23   issued laptop computer, and shared with federal regulators, were discrete and
        specific to certain violations. (Erhart Decl., ¶¶ 79-80). Moreover, before
   24
        Defendant turned over any documents, he sought and received assurance from a
   25
        lawyer with the regulators that his actions would be protected whistleblower
   26
        activity. (Erhart Decl., ¶ 80).
   27
              Still, contrary to what Plaintiff urges, the Ninth Circuit in Cafasso
   28
                                                   7                Case NO. 15CV2353-BAS-NLS
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    1   expressed openness to a public policy exception to enforcing a confidentiality
    2   agreement, stating that it “has some merit.” Id. at 1062.
    3           Subsequently courts have recognized the public policy exception to
    4   enforcing confidentiality agreements. See., e.g., Ruhe, supra at 1039, where Judge

    5
        Carney denied a motion to strike exhibits because “[r]elators sought to expose a
        fraud against the government and limited their taking to documents relevant to the
    6
        alleged fraud. Thus, this taking and publication was not wrongful, even in light of
    7
        nondisclosure agreements, given ‘the strong public policy in favor of protecting
    8
        whistleblowers who report fraud against the government.’ ”
    9
                Likewise, in United States v. Cancer Treatment Ctrs. of Am., supra, the
   10
        court held the whistleblower exempt from liability for breach of confidentiality
   11
        agreement for disclosure to government of documents showing employer engaged
   12
        in fraudulent healthcare billing. 350 F.Supp.2d at 753.
   13
                The court declined to force a whistleblower to turn over a document in U.S.
   14   ex rel. Head v. Kane Co., 668 F. Supp. 2d 146, 152 (D.D.C. 2009) (“Enforcing a
   15   private agreement that requires a qui tam plaintiff to turn over his or her copy of a
   16   document, which is likely to be needed as evidence at trial, to the defendant who
   17   is under investigation would unduly frustrate the purpose” of the False Claims
   18   Act).
   19           More recently, Judge Tigar held that any alleged obligation by a
   20   whistleblower not to retain or disclose the confidential documents that form the
   21   basis of his action is unenforceable as a matter of public policy because it would
   22   frustrate Congress' purpose in enacting the False Claims Act—namely, the public

   23   policy in favor of providing incentives for whistleblowers to come forward, file
        FCA suits, and aid the government in its investigation efforts. Siebert v. Gene
   24
        Security Network, supra, 2013 WL 5645309 *8.9
   25
                Even before the cases Bofi cites, courts made similar findings of public
   26
        9
   27    The Court recognized that if the employee took documents bearing no relation to his claims,
        the employer’s counterclaim would survive to address those. Id.
   28
                                                      8                   Case NO. 15CV2353-BAS-NLS
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    1   policy exceptions. See, e.g., X Corp. v. Doe, 805 F.Supp. 1298, 1310 n.24 (E.D.
    2   Va. 1992) (“To the extent that it prevented disclosure of evidence of a fraud on
    3   the government, that Agreement would be void as contrary to public policy.... X
    4   Corp. cannot rely on any contract to conceal illegal activity.”).

    5
                In JDS Uniphase, supra (the second case Bofi cites), a district court in the
        Fourth Circuit granted summary judgment on a breach of contract claim.
    6
        Obviously there was a much fuller record at the summary judgment state than
    7
        here where Plaintiff seeks injunctive relief before discovery has begun.10 The
    8
        court there refused to invalidate a proprietary information agreement because of a
    9
        California legislative expression of public policy.11 It expressed its concern thus:
   10
        “By no means can the policy fairly be said to authorize disgruntled employees to
   11
        pilfer a wheelbarrow full of an employer's proprietary documents in violation of
   12
        their contract merely because it might help them blow the whistle on an
   13
        employer's violations of law, real or imagined.” Id. at 702. The court also
   14   recognized that a whistleblower can use and disclose confidential information to
   15   his attorney in seeking advice about how to proceed with claims. Id. at 703-04.
   16           The court further recognized that an employee is justified in taking
   17   documents where, as here, he fears that documents would be destroyed. Id.
   18   (Erhart Decl., ¶ 76). The same rationale applies where an employee reasonably
   19   fears that documents would be (or have been) altered. (Erhart Decl., ¶ 76).
   20           The final case cited by Bofi is Renfroe, supra. Once again Bofi misleads
   21   the court as to a key holding in a case. Here the court specifically exempted from
   22
        10
   23      Defendant has been very cooperative with Plaintiff, agreeing to a limited deposition to
        respond to unfounded and scurrilous allegations that he had improperly shared confidential
   24   information with short-sellers and others. The parties submitted a joint order to the Court to
        allow that limited deposition. (RJN).
   25   11
           Id. at 701.The California legislature's proclamation states that it is their state's public policy
   26   to encourage employees to notify an appropriate government or law enforcement agency when
        they have reason to believe their employer is violating laws enacted for the protection of
   27   corporate shareholders, investors, employees, and the general public. 2003 Cal. Adv. Legis.
        Serv. 484 § 1. Of course, there are many other expressions of public policy implicated here, in
   28   SOX, Dodd-Frank and Labor Code § 1102.5.
                                                          9                     Case NO. 15CV2353-BAS-NLS
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    1   the preliminary injunction documents taken and turned over to various law
    2   enforcement agencies. Id. *4.
    3          In short, the weight of authority supports the finding that Mr. Erhart’s
    4   protected whistleblowing activity trumps Bofi’s attempts to enforce its

    5
        confidentiality agreement. Given the likelihood that Defendant will prevail on his
        affirmative defenses because of his whistleblowing, Plaintiff simply cannot show
    6
        it is likely to prevail.
    7
                      2.      Bofi Fails to Disclose Critical Law About Its Claims.
    8
               Mr. Erhart is clearly a whistleblower under several different statutory
    9
        schemes: the Sarbanes-Oxley Act of 2002, 15 U.S.C. § 1514A et seq. (“SOX”),
   10
        the Dodd-Frank Act Wall Street Reform and Consumer Protection Act, 15 U.S.C.
   11
        § 78u-6 (“Dodd–Frank Act”), and California Labor Code § 1102.5. See Erhart
   12
        Whistleblower Suit.
   13
               The Securities and Exchange Commission has promulgated a rule that
   14   expressly covers Mr. Erhart’s conduct and bars Plaintiff’s. This rule took effect
   15   more than five years ago, yet Bofi fails to cite it to the Court.
   16          Dodd-Frank Rule 21-F provides in pertinent part:
   17          (a) No person may take any action to impede an individual from
   18          communicating directly with the Commission staff about a possible
   19          securities law violation, including enforcing, or threatening to
   20          enforce, a confidentiality agreement . . . with respect to such
   21          communications.
   22   17 C.F.R. § 240.21F–17 (emphasis added).

   23           This rule is among a number of regulations the SEC has promulgated
        under the Dodd–Frank Act. The regulations define who is a whistleblower:
   24
               (1) You are a whistleblower if, alone or jointly with others,
   25
                   you provide the Commission with information pursuant to the
   26
                   procedures set forth in § 240.21F–9(a) of this chapter, and the
   27
                   information relates to a possible violation of the Federal
   28
                                                   10                Case NO. 15CV2353-BAS-NLS
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    1                   securities laws (including any rules or regulations thereunder)
    2                   that has occurred, is ongoing, or is about to occur. A
    3                   whistleblower must be an individual. . . .
    4   17 C.F.R. § 240.21F–2. Mr. Erhart did provide information to the SEC in the

    5
        prescribed manner, and the SEC assigned numbers to his submissions (Erhart
        Decl., ¶ 78).
    6
                   Nevertheless, the SEC, as well as recent case law, clarifies that Mr. Erhart
    7
        need not meet the requirements of § 240.21F–9(a) to qualify as a whistleblower
    8
        under Dodd-Frank. Release No. 75592 (S.E.C. Release No.), Release No. 34-
    9
        75592, 2015 WL 4624264 (August 7, 2015)12; Berman v. Neo@Ogilvy LLC, 801
   10
        F.3d 145, 154-55 (2d Cir. 2015). Internal reporting to management will suffice.
   11
                   Similarly, Mr. Erhart’s whistleblowing under SOX is protected even if he
   12
        only reported the suspected wrongdoing internally to management, without
   13
        reporting it, as he did, to the SEC and other federal regulators. Under SOX, a
   14   whistleblower may complain to:
   15              (A) a Federal regulatory or law enforcement agency;
   16              (B) any Member of Congress or any committee of Congress; or
   17              (C) a person with supervisory authority over the employee (or
   18              such other person working for the employer who has the
   19              authority to investigate, discover, or terminate misconduct). . . .”
   20   15 U.S.C. § 1514A(a)(1).
   21              California Labor Code § 1102.5 broadly covers Mr. Erhart’s conduct as
   22   well:

   23              (a) An employer, or any person acting on behalf of the
                        employer, shall not make, adopt, or enforce any rule,
   24
                        regulation, or policy preventing an employee from
   25
                        disclosing information to a government or law
   26
                        enforcement agency, to a person with authority over
   27

   28   12
             RJN, Exhibit 4.
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    1             the employee, or to another employee who has authority
    2             to investigate, discover, or correct the violation or
    3             noncompliance, or from providing information to, or
    4             testifying before, any public body conducting an

    5
                  investigation, hearing, or inquiry, if the employee has
                  reasonable cause to believe that the information discloses
    6
                  a violation of state or federal statute, or a violation of or
    7
                  noncompliance with a local, state, or federal rule or
    8
                  regulation, regardless of whether disclosing the
    9
                  information is part of the employee's job duties.
   10
        Cal.Lab.Code § 1102.5(a).
   11
                      3.    The Breach of Loyalty Claim Fails.
   12
              Bofi attempts to stretch a common law duty of loyalty far beyond what the
   13
        law provides. It cites case law regarding employees who take steps to
   14   misappropriate information to help a competitor or begin its own business in
   15   competition with its employer. (Pltf.Mem. 17-19). These have no relevance here.
   16   California Labor Code § 2863 only mentions doing business similar to the
   17   employer’s.
   18         Most case law in California deals with higher-level managerial employees,
   19   not rank-and-file like Mr. Erhart. See, e.g., James v. Childtime Childcare, Inc.,
   20   2007 WL 1589543 *3 (E.D. Cal. June 1, 2007) (duty of loyalty recognized where
   21   employee “was the director of the center, not a mere employee”); Stokes v. Dole
   22   Nut Co., 41 Cal.App.4th 285, 295-96 (1995) (finding that “an employer has the

   23   right to expect the undivided loyalty of its employees,” but also noting that
        plaintiffs “were managerial or supervisorial-level employees”); Fowler v. Varian
   24
        Assocs., Inc., 196 Cal.App.3d 34, 41(1987) (holding, in a case where the plaintiff
   25
        was a marketing manager, that “[d]uring the term of employment, an employer is
   26
        entitled to its employees’ ‘undivided loyalty’”).
   27

   28
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    1         A district court case cited by Bofi denied a motion to dismiss where the
    2   employer sued a former sales clerk, finding that California looks to the
    3   Restatement as authoritative. Otsuka v. Polo Ralph Lauren Corp., 2007 WL
    4   3342721 *3 (N.D. Cal. Nov. 9, 2007). Yet the case involved alleged misuse of a

    5
        company discount by a non-employee, hardly a case implicating public policy
        considerations. Likewise Fowler, supra, is a typical case where a manager takes
    6
        steps to begin a competing business while still employed. He was unable to prove
    7
        a public policy claim on those facts (“[N]o firmly established principle of public
    8
        policy authorizes an employee to assist his competitors”). Id. at 43.
    9
              Given the very firmly established public policy protecting company
   10
        whistleblowers, Bofi is unlikely to prevail on its claim of breach of the duty of
   11
        loyalty.
   12
                      4.    Bofi’s Attorney-Client Privilege Argument Fails.
   13
              Bofi suggests that the attorney-client privilege is “absolute,” citing Costco
   14   Wholesale Corp. v. Sup. Ct., 47 Cal.4th 725, 732-733 (2009). Pltf.Mem. 18. Yet
   15   Costco notes that the court must first determine the dominant nature of the
   16   relationship between a company and an in-house lawyer, who may well perform a
   17   variety of roles. Id. at 733. And once again Bofi fails to cite relevant case law,
   18   referenced in its own case: “Knowledge which is not otherwise privileged does
   19   not become so merely by being communicated to an attorney.” Costco, supra at
   20   742-743; see also Greyhound Corp. v. Superior Court, 56 Cal.2d 355, 397
   21   (1961); D.I. Chadbourne, Inc. v. Superior Court, 60 Cal.2d 723, 734 (1964).
   22         That is precisely what happened here. Mr. Erhart disclosed audit findings

   23   that Bofi and its in-house lawyer did not like, and directed Mr. Erhart to call the
        findings “attorney-client privileged” with no basis in fact to do so. This was done
   24
        solely to conceal the information from regulators and others. (Erhart Decl., ¶ 16).
   25
              Moreover, the crime-fraud exception applies here as well. Once again Bofi
   26
        omits relevant case law. It cites the basic rule in California Evidence Code §
   27

   28
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    1   954, but omits to mention the eight exceptions in the Evidence Code listed right
    2   after it, especially the looming exception in Evidence Code § 956:
    3                There is no privilege under this article if the services
    4                of the lawyer were sought or obtained to enable or aid

    5
                     anyone to commit or plan to commit a crime or a fraud.
        Cal.Evid.Code § 956. As the Erhart Whistleblower Complaint details, the Bank
    6
        should enjoy no privilege to shield wrongdoing orchestrated by its in-house
    7
        counsel.
    8

    9
              B.     There Is No Showing of Irreparable Harm
   10
              Mr. Erhart, in his whistleblower capacity, has disclosed information of Bofi
   11
        wrongdoing and illegal conduct. Of course Bofi may have lost some customer
   12
        goodwill because of the disclosures that the bank violating a host of federal and
   13
        state laws. But that does not mean an injunction should issue against Mr. Erhart.
   14   There is a strong public interest in having Bofi’s illegal conduct see the light of
   15   day. Nothing in the cases upon which Bofi relies suggests that an injunction is
   16   appropriate in a case like this. (Pltf.Mem. 19-20).
   17         While violating a confidentiality agreement could, if not excused, lead to
   18   irreparable harm in certain cases, that is simply irrelevant here, where Bofi seeks
   19   to enforce an agreement in contravention of federal law, including Dodd-Frank
   20   Rule 21-F. See Section III(A)(2), supra at 11.
   21

   22         C.     The Balance of Equities Tips in Defendant’s Favor

   23         Mr. Erhart is not culpable here. He is serving the public interest by acting
        as a whistleblower. He has already returned everything he had in his possession
   24
        anyway, and will seek it in discovery in this case and in the Erhart Whistleblower
   25
        Lawsuit.
   26
              To suggest that permanent harm may come to the bank if the injunction
   27
        does not issue is the rankest sort of speculation. Of course the bank will suffer
   28
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    1   harm if, and when, regulators impose sanctions on Bofi for its wrongdoing, or Mr.
    2   Erhart prevails in his Whistleblower Lawsuit. But once again, that should not
    3   hamstring Mr. Erhart from proceeding with his claims and regaining access to the
    4   documents he rightfully possessed before.

    5
                D.    An Injunction is Manifestly NOT in the Public Interest
    6
                Bofi repeatedly raises the specter of Mr. Erhart’s publicly disclosing
    7
        confidential banking information of its customers. Yet the only information Mr.
    8
        Erhart disclosed in his suit and to the regulators was information about accounts
    9
        affiliated with the bank’s CEO, who owes special fiduciary duties to those
   10
        customers and many others. That single disclosure was done in the public interest.
   11
        Mr. Erhart had some access to other customer information in his role as auditor,
   12
        but never disclosed it. There is simply no public interest operating in favor of the
   13
        Bank.
   14

   15                                    IV.   CONCLUSION
   16           The Bank has failed to meet its burden to obtain a preliminary injunction.
   17   Mr. Erhart acted in good faith as a whistleblower. For all the reasons set forth
   18   above, the motion should be denied in its entirety.
   19
        DATED: January 19, 2016.                THE GILLAM LAW FIRM
   20
                                                A Professional Law Corporation
   21
                                                s/ Carol Gillam
   22
                                                CAROL L. GILLAM
   23                                           Attorneys for Defendant Charles Matthew
   24
                                                Erhart

   25

   26
   27

   28
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